                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:09CR13
                                             )
               vs.                           )       ORDER FOR DISMISSAL
                                             )
JOSE VILLAGRANA LOPEZ                        )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment herein without prejudice as to the captioned Defendant only.

       For the reasons stated and for cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

the indictment herein is hereby DISMISSED WITHOUT PREJUDICE as to the Defendant

Jose Villagrana Lopez ONLY.

       The Clerk is directed to transmit this Order electronically to the Defendant’s counsel, the

United States Probation Office, the United States Attorney's Office, and the United States

Marshal.

                                                 Signed: July 1, 2009




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